





















Opinion issued October 13, 2011.



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00607-CV

———————————

doris ann powledge phillips, Appellant

V.

NORMAN
FREDE CHEVROLET CO., ALAMO RENT A CAR LLC, ALAMO FINANCING LP, AND G. RICHARD
WAGONER, JR., Appellees



&nbsp;



&nbsp;

On
Appeal from the 10th District Court

Galveston
County, Texas



Trial
Court Cause No. 10CV1541

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Doris Ann Powledge
Phillips, has neither established indigence nor paid all the required
fees.&nbsp; See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see
also Tex. Gov’t
Code Ann. §§ 51.207, 51.941(a) (Vernon 2005), §
101.041 (Vernon Supp. 2010)
(listing fees in court of appeals); Order Regarding Fees Charged in Civil Cases
in the Supreme Court and the Courts of Appeals and Before the Judicial Panel on
Multidistrict Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted in Tex. R. App. P.
app. A § B(1) (listing fees in court of appeals).&nbsp; After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.&nbsp; See Tex.
R. App. P. 5 (allowing
enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Chief Justice Radack and
Justices Bland and Huddle.

&nbsp;





